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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )               Case No. 8:16CR308
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )                    ORDER
DIANA GUZMAN,                                   )
                                                )
                     Defendant.                 )


       This case is before the court on the defendant Diana Guzman's Motion to Modify

Order of Release (#38). The defendant moves the court for an order amending her

October 31, 2016 Order Setting Conditions of Release (#25) by modifying requirement (v)

to exclude family members (her husband). The motion is denied without hearing.

       A review of the testimony at the defendant's contested October 31, 2016 detention

hearing shows the issue of family contacts was specifically addressed and counsel for the

defendant informed the court, “your honor, my client has no objection with a no contact

order with regard to her husband. This is about her release to be with her child.”

       IT IS ORDERED: As defendant's Motion to Modify Order of Release (#38) contains

no additional information that would cause the court to reconsider its prior order, the motion

is denied without hearing.

       Dated this 7th day of February, 2017.

                                             BY THE COURT:


                                             s/ F.A. Gossett, III
                                             United States Magistrate Judge
